     Case 1:19-cv-00185   Document 45       Filed on 04/22/20 in TXSD   Page 1 of 40




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                        BROWNSVILLE DIVISION

RUBEN GUTIERREZ,                        :
    Plaintiff,                          :       Civil Case No. 1:19-cv-185
                                        :
v.                                      :
                                        :
LUIS V. SAENZ, Cameron County           :
District Attorney;                      :       THIS IS A CAPITAL CASE
                                        :
FELIX SAUCEDA, JR., Chief,              :       EXECUTION SET FOR
Brownsville Police Department;          :       June 16, 2020
                                        :
BRYAN COLLIER, Executive                :
Director, Texas Department of           :
Criminal Justice, Huntsville, Texas;    :
                                        :
LORIE DAVIS, Director, Texas            :
Department of Criminal Justice,         :
Correctional Institutions Division,     :
Huntsville, Texas; and                  :
                                        :
BILLY LEWIS, Warden, Texas              :
Department of Criminal Justice,         :
Huntsville Unit, Huntsville, Texas,     :
     Defendants.                        :

          AMENDED COMPLAINT PURSUANT TO 42 U.S.C. § 1983

Peter Walker                                    Richard W. Rogers, III
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  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD    Page 2 of 40




                                 INTRODUCTION

The DNA Claims

      1.     Plaintiff Ruben Gutierrez has been convicted of capital murder and is

currently scheduled to be executed by the State of Texas on June 16, 2020. The State

intends to carry out Mr. Gutierrez’s death sentence in spite of the facts that physical

evidence is available that has never been DNA tested, and that such testing could

prove that Plaintiff was not a principal in the murder of Escolastica Harrison. This

suit is brought to enjoin Defendants from violating Plaintiff’s federal constitutional

rights by denying him access to that evidence for purposes of forensic DNA testing.

      2.     The State of Texas collected physical evidence that could have been

DNA tested at the time of trial. The State chose not to test that evidence.

      3.     “Modern DNA testing can provide powerful new evidence unlike

anything known before.” Dist. Attorney’s Office v. Osborne, 557 U.S. 53, 62 (2009).

Since he was convicted, Mr. Gutierrez has demanded that the evidence be tested to

prove he did not commit the killing and identify another man as the murderer, but

the State has opposed such testing (with one exception) and Texas courts have

repeatedly denied requests for such testing.

      4.     The Texas legislature has recognized the utility of DNA evidence in the

post-conviction context, and passed Chapter 64 of the Texas Code of Criminal

Procedure in 2001 because prior laws relating to the use of biological evidence,

                                          1
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD    Page 3 of 40




“particularly evidence containing DNA, have been surpassed by developments in

the science of biological evidence and other related technologies, unnecessarily

inhibiting the use of such evidence.” Tex. Bill Analysis, S.B. 3, Jan. 25, 2001. 1

      5.     Mr. Gutierrez properly filed a motion for DNA testing under Chapter

64 of the Texas Code of Criminal Procedure (“Chapter 64”) almost ten years ago,

but his request was denied after lengthy proceedings—including two appeals to the

Texas Court of Criminal Appeals (“CCA”). Following changes in Chapter 64, the

development of advanced scientific testing techniques, and the disclosure of new

exculpatory evidence, Mr. Gutierrez again sought DNA testing earlier this year, but

was again denied.

      6.     This action under 42 U.S.C. § 1983 (“Section 1983”) challenges the

constitutionality of Chapter 64 both on its face and as applied by the CCA. Given

the unique ability of DNA evidence to identify the actual killer in this case, the

State’s refusal to allow Mr. Gutierrez to test key evidence in its possession denies

him due process of law and access to the courts.

      7.     Defendants’ refusal to release the biological evidence for testing

violates Plaintiff’s Fourteenth Amendment right to due process, his First


  1
    When it passed the DNA testing legislation, Texas prospectively provided for
mandatory DNA testing of all biological material recovered in capital cases. Tex.
Art. Crim. Pro. 38.43. If Mr. Gutierrez were arrested today, testing of this
biological material would be required.

                                          2
  Case 1:19-cv-00185      Document 45     Filed on 04/22/20 in TXSD     Page 4 of 40




Amendment right to access the courts, and his Eighth Amendment right to be free

from cruel and unusual punishment. Plaintiff requests of this Court an order

declaring that Defendants’ continued withholding of the evidence violates Plaintiff’s

constitutional rights, and requiring that Defendants release the evidence to Plaintiff

under a reasonable protocol regarding chain of custody and preservation of the

evidence, in order that Plaintiff can have the evidence tested at his own expense.

Relief is necessary here to preserve Plaintiff’s liberty interest in accessing the Texas

statutory procedure to conduct forensic DNA testing.

The First Amendment and Related Claims

      8.     Plaintiff Gutierrez is a Christian. On June 16, 2020, Mr. Gutierrez will

be executed under conditions that violate the First Amendment’s Free Exercise and

Establishment Clauses and substantially burden the exercise of his religious beliefs

as protected by the Religions Land Use and Institutionalized Persons Act of 2000

(“RLUIPA”), 42 U.S.C. §§ 2000cc-2000cc-5. Mr. Gutierrez’s request for a

reasonable accommodation to have a Christian chaplain in the execution chamber

when he is executed has been denied. Relief is necessary to ensure that he is executed

only in a manner that does not substantially burden the exercise of his religious

beliefs, does not violate his rights under the Establishment Clause, and complies

with RLUIPA.




                                           3
   Case 1:19-cv-00185      Document 45    Filed on 04/22/20 in TXSD    Page 5 of 40




                                  JURISDICTION

       9.     This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343, 1651, 2201,

and 2202, and under 42 U.S.C. § 1983. See also Skinner v. Switzer, 562 U.S. 521,

534 (2011) (convicted state prisoner may seek DNA testing of crime-scene evidence

in § 1983 action).

                                      VENUE

       10.    Venue lies in this Court under 28 U.S.C. § 1391 because Defendants

reside in the Southern District of Texas. Venue is also proper because the execution

will occur in this district.

                                     PARTIES

       11.    Plaintiff Ruben Gutierrez is a United States citizen and resident of the

State of Texas. He is currently incarcerated, under a sentence of death imposed by

the 107th Judicial District Court of Texas (the “107th District Court”), at the Allan

B. Polunsky Unit of the Texas Department of Criminal Justice (“TDCJ”) in

Livingston, Texas. He is scheduled to be executed on June 16, 2020.

       12.    Defendant Luis V. Saenz is the District Attorney for the 107th Judicial

District of Texas, and maintains an office in that district in the city of Brownsville.

He is being sued in his official capacity. Defendant Saenz has custody and/or control

of the DNA evidence that is the subject of the DNA claim. Defendant Saenz has

opposed Mr. Gutierrez’s request to conduct DNA testing on the items of evidence at

                                          4
  Case 1:19-cv-00185      Document 45      Filed on 04/22/20 in TXSD    Page 6 of 40




issue in this case. A district attorney who opposes DNA testing is a proper defendant

in a § 1983 action seeking DNA testing. Skinner, supra.

      13.     Defendant Felix Sauceda, Jr., is the Chief of the Brownsville Police

Department. Defendant Sauceda has custody of certain evidence designated below.

Defendant Sauceda is sued in his official capacity.

      14.     Bryan Collier is the executive director of the TDCJ. He is being sued

in his official capacity. He is responsible for the oversight and enforcement of

policies and procedures generally applicable to all prisons and all prisoners and is

responsible for carrying out Mr. Gutierrez’s execution.

      15.     Lorie Davis is the director of the Correctional Institutions Division (the

“CID”) of the TDCJ. She is being sued in her official capacity. In her capacity as

director of the CID, she adopted TDCJ’s Execution Procedure, effective April 2,

2019. Ms. Davis is also the person charged by the trial court’s order to execute the

judgment of death against Mr. Gutierrez.

      16.     Billy Lewis is the senior warden of the Huntsville Unit, the unit at

which TDCJ executes inmates. He is being sued in his official capacity. As the

warden of the Huntsville Unit, Mr. Lewis is the TDCJ official who supervises Texas

executions.




                                           5
  Case 1:19-cv-00185       Document 45     Filed on 04/22/20 in TXSD     Page 7 of 40




                           PROCEDURAL BACKGROUND

The DNA Claims

        17.   Plaintiff was one of three men indicted for the robbery/murder of

Escolastica Harrison: Ruben Gutierrez, Rene Garcia, and Pedro Gracia. Pedro

Gracia was released on bond and disappeared. Rene Garcia pled guilty and was

sentenced to life imprisonment. Ruben Gutierrez pled not guilty and his case was

tried by a jury in the 107th District Court of Cameron County, Texas.

        18.   The State’s main theory of the case at trial was that Mr. Gutierrez was

a principal in the murder of Escolastica Harrison in order to prevent her from

identifying him as one of the robbers. In opening statement the State argued to the

jury:

        The evidence will show . . . without any statements, that Ruben and
        Rene killed Ms. Harrison. . . . Ruben’s statements . . . show[] beyond a
        reasonable doubt that he’s involved in killing Ms. Harrison and robbing
        Ms. Harrison, killed her in the course of a theft.

17 RR 33. 2
        19.   In closing argument the State argued to the jury:

        [W]hat [Ruben] tells you in the confession, which you also need to be
        sure that you pay close attention to, is what he says is that, “We got two
        screwdrivers out of that toolbox, two screwdrivers out of that toolbox.”
        Think about it and read between line[s], ladies and gentlemen. What
        he’s telling you is that, “Rene had the flat tip, and we got two out, and
        I had the other one. I had the star shaped one.”

  2
   The trial testimony will be cited as volume number, followed by RR (Reporter’s
Record), followed by the page number.
                                          6
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 8 of 40




20 RR 72.
      20.    On direct appeal, the State argued to the Court of Criminal Appeals:

“Mrs. Harrison was attacked by two adult men. The two men were armed with

screwdrivers.” Appeal Brief at 19.

      21.    Under the State’s theory of the case at trial, the two men present at the

scene of the offense were Rene Garcia (who pled guilty) and Ruben Gutierrez. Pedro

Gracia (who absconded) was the getaway driver. Avel Cuellar—the victim’s nephew

who resided with her and “discovered” her body—was not, according to the State,

involved in the crime.

      22.    Mr. Gutierrez maintained throughout trial proceedings that although he

was aware of a burglary, he was not present at the scene of the offense, did not enter

the victim’s home, did not plan the victim’s murder, did not participate in the

victim’s murder, did not know that his co-defendants intended to commit murder,

and could not have reasonably anticipated that his co-defendants intended to commit

murder. 3 The defense argued that the two men observed at the scene of the offense

who went inside the victim’s house were Rene Garcia and Pedro Gracia; because




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    Mr. Gutierrez has maintained since before his trial that his third statement—
referenced by the prosecutor in closing argument—was false and was obtained by
coercion.

                                          7
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD    Page 9 of 40




Mr. Gutierrez was not inside the home, he had no idea the robbery had resulted in

Ms. Harrison’s death.

      23.    In 1999, Plaintiff was convicted and sentenced to death by a jury in

the107th District Court for the murder of Ms. Harrison. The conviction and sentence

were upheld by a divided Texas Court of Criminal Appeals (“CCA”) on direct

appeal, with one justice dissenting. Gutierrez v. State, No. 73,462 (Jan. 16, 2002)

(unpublished).

      24.    On July 31, 2002, Plaintiff initiated state court habeas corpus

proceedings pursuant to Art. 11.071 of the Texas Code of Criminal Procedure. After

the state habeas court initially denied relief, the CCA affirmed the denial of all but

two claims for relief and remanded the case to the trial court to supplement the record

with affidavits from trial and appellate counsel. Ex parte Gutierrez, No. 59,552-01,

2004 WL 7330936, at *1 (Tex. Crim. App. Sept. 15, 2004) (“Gutierrez-1”).

Following the remand and supplementation, the CCA denied the remaining claims.

Ex parte Gutierrez, No. 59,552-01, 2008 WL 2059277, at *1 (Tex. Crim. App. May

14, 2008) (“Gutierrez-2”).

      25.    On January 26, 2009, Mr. Gutierrez timely filed a federal petition for

writ of habeas corpus with this Court. See Gutierrez v. Stephens, No. 1:09-cv-00022

(S.D. Tex.) (Doc. 1). Mr. Gutierrez was represented by attorney Margaret

Schmucker. Mr. Gutierrez then sought, and this Court granted, a stay and abeyance

                                          8
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 10 of 40




so that Mr. Gutierrez could file a successive state writ to exhaust additional claims

in accordance with Rhines v. Weber, 544 U.S. 269, 277 (2005). Id. (Doc. 10).

      26.    Upon returning to state court, Mr. Gutierrez sought the appointment of

counsel and DNA testing pursuant to a version of Texas Code of Criminal Procedure

Chapter 64 that was later superseded by amendment. The trial court initially denied

only the motion for appointment of counsel and Mr. Gutierrez appealed. The CCA

dismissed the appeal for lack of jurisdiction because the denial of counsel was found

not to be an immediately appealable order. Gutierrez v. State, 307 S.W.3d 318, 319

(Tex. Crim. App. 2010) (“Gutierrez-3”). The trial court subsequently denied the

motion for DNA testing under Chapter 64; Mr. Gutierrez then appealed the denial

of counsel and post-conviction DNA testing. On May 4, 2011, the CCA affirmed,

finding that Mr. Gutierrez was not entitled to the appointment of counsel or to post-

conviction DNA testing under Chapter 64. Ex parte Gutierrez, 337 S.W.3d 883, 886

(Tex. Crim. App. 2011) (“Gutierrez-4”).

      27.    The CCA’s affirmance was based in part on a finding that Mr. Gutierrez

was at fault for not seeking DNA testing at trial. Id. at 895 (citing Tex. Crim. Proc.

Code art. 64.01(b)(1)(B)), repealed by Acts 2011, 82nd Leg., ch. 366 (S.B. 122),

§ 1. The CCA also affirmed the lower court on the ground that Plaintiff had failed

to show by a preponderance of the evidence that he would not have been prosecuted




                                          9
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 11 of 40




or convicted if exculpatory results had been obtained through DNA testing.

Gutierrez-4, 337 S.W.3d at 901.

       28.   Mr. Gutierrez filed a successive state application for writ of habeas

corpus. The writ was ultimately dismissed on procedural grounds as an abuse of the

writ. Ex parte Gutierrez, WR-59,552-02 (Aug. 24, 2011) (per curiam).

       29.   Mr. Gutierrez returned to federal court and raised a claim under Brady

v. Maryland, 373 U.S. 83, 87 (1963), regarding the State’s tardy disclosure to trial

counsel that it was in sole possession of biological evidence collected from the

victim and the scene of the offense. In the amended brief supporting his claim for

federal habeas relief, Mr. Gutierrez specifically requested post-conviction DNA

testing.

       30.   This Court issued a judgment denying federal habeas relief on

procedural grounds. Gutierrez v. Stephens, No. 1:09-CV-22 (S.D. Tex. Oct. 3, 2013).

       31.   Mr. Gutierrez filed an application for certificate of appealability to the

United States Court of Appeals for the Fifth Circuit, seeking review of the denial of

the Brady claim. During oral argument, counsel for Mr. Gutierrez again argued that

DNA testing would demonstrate that Mr. Gutierrez was not death eligible. The Fifth

Circuit denied Mr. Gutierrez’s request for a certificate of appealability on procedural

grounds. Gutierrez v. Stephens, 590 F. App’x 371, 373 (5th Cir. 2014), cert. denied,

136 S. Ct. 35 (2015).

                                          10
  Case 1:19-cv-00185    Document 45     Filed on 04/22/20 in TXSD   Page 12 of 40




      32.   On November 4, 2015, Mr. Gutierrez filed a motion for miscellaneous

relief in the state trial court, seeking independent DNA testing of potentially

exculpatory material under Brady. In its response to this motion, filed on February

2, 2016, the State did not oppose Mr. Gutierrez’s request for DNA testing. On April

11, 2018, however, the State presented and the court signed a proposed order

denying the motion.

      33.   On April 18, 2018, without giving Plaintiff’s attorneys any notice or an

opportunity to be heard, the 107th District Court signed Mr. Gutierrez’s warrant of

execution, directing that he be executed by intravenous injection “at any time after

the hour of 6:00 P.M. on September 12, 2018.”

      34.   In the meantime, but unbeknownst to Mr. Gutierrez, appointed counsel

Margaret Schmucker was removed from the Fifth Circuit’s CJA appointment panel

on December 15, 2017. See Gutierrez v. Stephens, No. 1:09-cv-00022 (S.D. Tex.)

(Doc. 63). On July 24, 2018, Ms. Schmucker filed a motion seeking to be relieved

as counsel in this case. Id. (Doc. 56). On August 6, 2018, this Court granted the

motion to withdraw and appointed Richard W. Rogers, III, as counsel. Id. (Doc. 63).

On August 14, 2018, this Court appointed the FCDO as co-counsel. Id. (Doc. 71).

      35.   On August 15, 2018, Mr. Gutierrez filed a motion for stay of execution

in this Court. Id. (Doc. 73). The State opposed the motion, arguing that this Court




                                        11
  Case 1:19-cv-00185     Document 45    Filed on 04/22/20 in TXSD    Page 13 of 40




lacked jurisdiction and that Mr. Gutierrez was not entitled to a stay. Id. (Doc. 74).

This Court granted the stay of execution on August 22, 2018. Id. (Doc. 79).

      36.     Following the stay, the FCDO sought records from the Brownsville

Police Department, the Texas Department of Public Safety, and the Cameron County

District Attorney’s Office. While discussions about those requests were ongoing, on

April 30, 2019, the Cameron County District Attorney’s Office filed a motion to set

a new execution date. That motion was granted on May 1, 2019.

      37.     On June 8, 2019, Mr. Gutierrez filed an “Agreed Upon Motion to Recall

Order Setting Execution Date and Warrant of Execution,” due to defects in the

warrant. On June 14, 2019, after review of partial files made available by the

Brownsville Police Department and the Cameron County District Attorney’s Office,

Mr. Gutierrez filed a renewed motion for post-conviction DNA testing pursuant to

Chapter 64.

      38.     On June 20, 2019, the court granted the motion to recall the execution

date, and granted the motion for DNA testing. Ex parte Gutierrez, No. 98-CR-1391-

A, Order (Tex. 107th Judicial Dist. Ct. June 20, 2019), A1-2. 4




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   Plaintiff filed an Appendix of relevant documents with the original Complaint.
Documents included in the Appendix are cited as “A” followed by the page number.

                                         12
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 14 of 40




      39.    On June 21, 2019, the Cameron County District Attorney’s Office

moved to set a new execution date of October 30, 2019. On that same date, Mr.

Gutierrez objected to the proposed new execution date and moved for a hearing.

      40.    On June 25, 2019, the State filed its opposition to the motion for DNA

testing. On June 27, 2019, the 107th District Court granted the motion to set a new

execution date of October 30, 2019, and denied the defense motions. The court

signed without change the State’s proposed orders (a) withdrawing the previous

order granting DNA testing and (b) denying DNA testing. A3-4.

      41.    Mr. Gutierrez timely appealed. On February 26, 2020, the CCA

affirmed the trial court order denying relief. Gutierrez v. State, No. AP-77,089, 2020

WL 918669, at *1 (Tex. Crim. App. Feb. 26, 2020) (“Gutierrez-5”).

The First Amendment and Related Claims

      42.    On April 2, 2019, TDCJ adopted a revised execution procedure

prohibiting any religious or spiritual advisers from entering the execution chamber

at the time of an execution: “TDCJ Chaplains and Ministers/Spiritual Advisors

designated by the offender may observe the execution only from the witness rooms.”

A12. The previous execution policy allowed TDCJ-approved chaplains in the

execution chamber, consistent with longstanding tradition in Texas and nationwide.

      43.    The amendment appears to be in response to the Supreme Court’s order

granting a stay in Murphy v. Collier, 139 S. Ct. 1475, 1475 (2019). Indeed, the

                                         13
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 15 of 40




revised policy appears to adopt reasoning from Justice Kavanaugh’s concurring

statement. See id. at 1475-76.

      44.    On July 30, 2019, undersigned counsel informed Sharon Howell,

general counsel of TDCJ, that Mr. Gutierrez was requesting a reasonable

accommodation to have a Christian chaplain present in the execution chamber

during his execution, and had submitted an I-60 “Oﬀender Request to Oﬃcial” form.

A14-15. Mr. Gutierrez did not receive a written response to his I-60, but when talking

to a TDCJ chaplain on July 28, 2019, he was told that there would be no chaplain in

the chamber, in accordance with the new TDCJ policy. Ms. Howell responded to

undersigned counsel on July 31, 2019, stating that TDCJ could not accommodate

Mr. Gutierrez’s request as it would violate TDCJ policy. A14.

      45.    On August 19, 2019, months before his scheduled execution, Mr.

Gutierrez filed an “Offender Grievance” form. A16-17. Mr. Gutierrez explained that

having a Christian chaplain present in the chamber would help to ensure his path to

the afterlife. He also noted that TDCJ’s previous policy allowed a TDCJ-approved

chaplain to be present inside the execution chamber at the time of execution, and

that both TDCJ Chaplains J. Guy and Wayne Moss had indicated that they were

willing to be present in the chamber at his execution (but for TDCJ’s April 2019

Execution Procedure).




                                         14
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 16 of 40




      46.    TDCJ has not yet granted or denied Mr. Gutierrez’s grievance. Mr.

Gutierrez filed these claims originally in light of the fact that his execution was

scheduled in little over a month, and particularly in light of Justice Kavanaugh’s

statement that a claim filed over a month before an execution is “sufficiently timely,”

Murphy, 139 S. Ct. at 1475, 1476 n.* (implying that a claim filed later likely would

not be timely). Under the current warrant, Mr. Gutierrez’s execution is a little under

two months away, and there is no indication that TDCJ will take any additional

action on Mr. Gutierrez’s grievances.

                  FACTUAL BACKGROUND OF DNA CLAIM

      47.    The evidence presented at trial showed that the victim had suffered

several puncture wounds, 19 RR 234-42, but had died from a blow to the head, 19

RR 224-25, 266-67. The medical examiner testified that the puncture wounds had

been made by two screwdrivers. 19 RR 234-45. He did not estimate Ms. Harrison’s

time of death. 19 RR 215-82; SX 73 (autopsy report). 5

      48.    The medical examiner testified that Ms. Harrison had struggled with

her assailant(s) for at least a few minutes, during which time she sustained defensive

wounds to her right wrist, right elbow, and right hand. 19 RR 245-247, 257, 263,

272. He stated that defensive wounds are “almost always found” on “the fingers of


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    Exhibits introduced at trial by the State are cited as “SX.” They are contained in
volume 30 of the record.

                                          15
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD    Page 17 of 40




the hands, and the hands, and the forearms as they try to ward off blows.” 19 RR

245. The medical examiner also testified that Ms. Harrison fought her attacker with

her hands. Id.

      49.    The medical examiner testified at trial that biological material—namely

scrapings taken from underneath Ms. Harrison’s fingernails—was preserved as

evidence. 19 RR 245. According to the medical examiner, the purpose of taking nail

scrapings during an autopsy is to determine whether the victim had tissue under her

nails from any other individual besides herself. 19 RR 264. Furthermore, when a

person is attempting to defend themself, there is also a “distinct possibility” that the

person would grab the assailant’s hair and then have that hair on their hand. Id.

      50.    The medical examiner found a single loose hair around the third digit

of Ms. Harrison’s left hand. 19 RR 263.

      51.    The untested evidence in the possession of the State can not only prove

Mr. Gutierrez was not in the victim’s house, it can show who actually killed Ms.

Harrison. Specifically, the untested evidence includes:

                 • blood sample taken from Ms. Harrison and retained by the Texas
                   DPS McAllen Laboratory, pending pick up by the District
                   Attorney;

                 • nightgown belonging to Ms. Harrison that may have touch DNA
                   from her assailant(s);

                 • shirt belonging to Ms. Harrison’s nephew and housemate, Avel
                   Cuellar, containing apparent blood stains; retained by the Texas

                                          16
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 18 of 40




                   DPS McAllen Laboratory pending pick up by the District
                   Attorney;

                • nail scrapings in which “[a]pparent blood was detected” were
                  taken from Ms. Harrison during autopsy and submitted to Det.
                  Hernandez as part of rape examination kit;

                • blood samples collected from a bathroom, from a raincoat
                  located in or just outside Avel Cuellar’s bedroom, and from the
                  sofa in the front room of Ms. Harrison’s house; and

                • a single loose hair found around the third digit of the victim’s left
                  hand recovered during autopsy and submitted to Det. Hernandez
                  as part of rape examination kit. 19 RR 263.

      52.    DNA testing of the blood sample taken from the victim, Escolastica

Harrison, is necessary to establish a known sample for purposes of including or

excluding her as the source of biological evidence, according to standardized

scientific DNA testing protocols.

      53.    “Touch DNA testing”—a new, advanced DNA testing procedure—of

the decedent’s nightgown is necessary because her assailant(s) likely touched the

nightgown, and thus such testing would likely reveal the identity of those

assailant(s). See Aff. of Huma Nasir, A21-23; Decl. of Dr. Randall Libby, A38-39.

      54.    DNA testing of the shirt belonging to the victim’s nephew and

housemate is necessary to determine whether it was contaminated by biological

evidence (blood) not belonging to himself or Ms. Harrison between the time he

arrived home and discovered her body and the time police arrived, and, if so, whether

it matches one, two, or all three of the co-defendants.
                                           17
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD   Page 19 of 40




      55.    DNA testing of the nail scrapings taken from Ms. Harrison during the

autopsy is necessary to determine whether, during the struggle with her assailant(s),

she collected biological material from their skin under her fingernails, and, if so,

whether it matches one or more of her assailants.

      56.    DNA testing of the blood samples collected from the bathroom, the

raincoat, and the sofa is necessary to determine whether they matched just Ms.

Harrison or whether they contained DNA from one or more of the co-defendants.

      57.    DNA testing of the loose hair is necessary to determine whether it

matched just Ms. Harrison or whether it contained DNA from one of her assailants.

With advanced new DNA testing procedures, including mitochondrial DNA testing,

this can be done even if there is no root material attached to the hair. A22.

      58.    The jury, when deciding if Mr. Gutierrez was guilty of capital murder,

never heard the results of any testing of this forensic evidence. The jury, when it

sentenced Mr. Gutierrez to die, never heard the results of any testing of this forensic

evidence. This is because the State never tested this evidence, and has opposed Mr.

Gutierrez’s efforts to test it (with one brief exception).

      59.    Instead, the State assumed that blood found on Ms. Harrison’s clothes

and biological evidence collected during the autopsy—including fingernail

scrapings—contained no DNA from Ms. Harrison’s assailant(s), despite the medical

examiner’s testimony concerning the presence of defensive wounds on her body. It

                                           18
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD     Page 20 of 40




further assumed that blood found elsewhere in the house belonged to Ms. Harrison,

despite the fact that fresh blood stains were found in areas of the house the victim

could not have reached, and clearly did not go, either during or after the fatal assault.

      60.     No evidence submitted at trial proved that Mr. Gutierrez actually

stabbed or laid a hand on Ms. Harrison. His conviction was based primarily on a

photo identification of Mr. Gutierrez by an eyewitness (Julio Lopez), who claimed

to have observed him outside the victim’s house at the time the murder occurred but

who, at trial, did not identify Mr. Gutierrez as the person he observed, 18 RR 72-94;

testimony that Mr. Gutierrez led police to the location where his co-defendants

showed him they had disposed of items taken from the victim’s home, 18 RR 179-

93; and statements by Mr. Gutierrez that were coerced by police, in which he

admitted to planning a burglary (not a robbery and murder) and to being present at

the scene, but not to any direct involvement in the victim’s murder, SX 45.

                              CLAIMS FOR RELIEF

      61.    Mr. Gutierrez re-alleges and incorporates herein by reference all the

allegations contained in the preceding paragraphs of this Amended Complaint.

                   First Claim for Relief: Denial of Due Process

      62.    Pursuant to Chapter 64, when an individual sentenced to death, such as

Mr. Gutierrez, presents a motion that requests DNA testing of biological material

that both still exists in a condition which makes testing possible and could yield

                                           19
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD     Page 21 of 40




exculpatory results, he or she is entitled to have the evidence tested. Tex. Code Crim.

Proc. art. 64.03 (2017). If testing successfully produces an unidentified DNA profile,

that profile must be compared to the FBI’s CODIS database, and to the database

established by the Department of Public Safety. Art. 64.035 (2011). Exculpatory

results obtained under Chapter 64 are considered by the trial court.

      63.    Exculpatory DNA results are accepted under Texas law as evidence that

can be used to prove a claim for habeas relief brought under Articles 11.071 and

11.073 of the Texas Code of Criminal Procedure, based on innocence, innocence of

the death penalty, false or misleading testimony, and other constitutional violations.

Exculpatory DNA results may also be considered by the Board of Pardons and

Paroles and the Texas Governor in an available request for executive clemency. See

State v. Holloway, 360 S.W.3d 480, 489 n.58 (Tex. Crim. App. 2012), abrogated on

other grounds, Whitfield v. State, 430 S.W.3d 405, 409 (Tex. Crim. App. 2014).

      64.    Because the State of Texas has created a procedure through which

convicted persons can obtain DNA testing and then utilize exculpatory results from

that testing to secure habeas relief, executive clemency, and potentially other relief

from their convictions and death sentences, the process employed by the State for

obtaining access to DNA must not violate fundamental fairness. See Osborne, 557

U.S. at 69; Skinner, supra; Elam v. Lykos, 470 F. App’x 275, 276 (5th Cir. 2012)

(“While there is no freestanding right for a convicted defendant to obtain evidence

                                          20
  Case 1:19-cv-00185      Document 45      Filed on 04/22/20 in TXSD     Page 22 of 40




for post-conviction DNA testing, Texas has created such a right, and, as a result, the

state provided procedures must be adequate to protect the substantive rights

provided.”); Emerson v. Thaler, 544 F. App’x 325, 327 (5th Cir. 2013) (“Although

states are under no obligation to provide mechanisms for postconviction relief, when

they choose to do so, the procedures they create must comport with due process and

provide litigants with a fair opportunity to assert their state-created rights.”).

      65.    Chapter 64 on its face and as construed by the CCA violates

fundamental fairness. 6 On its face and as construed by the CCA, the statute

effectively precludes DNA testing.

      66.    Article 64.03(a)(2) requires movants to show by a preponderance of the

evidence that they would not have been convicted if exculpatory results had been

obtained by DNA testing. This is a particularly high standard of proof. Most state


  6
     In its 2011 decision, the CCA ruled that Mr. Gutierrez had failed to show that
the identity of the perpetrator was in issue, as required by Article 64.03(a)(1)(C).
The CCA relied in its ruling on statements from Mr. Gutierrez’s co-defendants, the
third (allegedly coerced) statement by Mr. Gutierrez, and an identification from a
photo array by Julio Lopez. See Gutierrez-4, 337 S.W.3d at 891-900. In the state
court proceedings initiated in 2019, Mr. Gutierrez cast significant doubt on the
identification by Mr. Lopez. See Compl. para. 67. In those proceedings, neither the
trial court nor the CCA relied on a purported inability to show that the identity of the
perpetrator was in issue. See Gutierrez-5, 2020 WL 918669, at *6. Thus, it no longer
appears that Texas is using the identity requirement as a basis to deny DNA testing,
and we do not address it further. To the extent it remains relevant, the ruling on
identity in Gutierrez-4 had the same factual basis as the failure-to-show-a-different
-outcome ruling in Gutierrez-5, aside from the reliance on the Lopez identification
in Gutierrez-4.

                                           21
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 23 of 40




and federal statutes use lower standards of proof, usually some variation on requiring

a showing of “reasonable probability” of acquittal. 7 As construed by the CCA, article


  7
     The following statutes require testing when the prisoner makes a showing that
meets a reasonable probability standard (with a number of variations in the precise
wording): 18 U.S.C. § 3600(a)(8)(B); Ala. Code 1975, § 15–18–200(f)(2); Alaska
Stat. Ann. § 12.73.020(9)(B) (West); Ariz. Rev. Stat. Ann. § 13-4240.B.1; Ark. Code
Ann. § 16-112-202(9)(B) (West); Cal. Penal Code § 1405(g)(5) (West); Conn. Gen.
Stat. Ann. § 54-102kk(b)(1) (West); D.C. Code Ann. § 22-4133(d) (West 2001); Fla.
Stat. Ann. § 925.11(f)(3) (West 2006); Ga. Code Ann. § 5-5-41(c)(3)(D) (West
2012); Haw. Rev. Stat. Ann. § 844D-123 (West); Ind. Code Ann. § 35-38-7-7, sec.
8(4) (West); Iowa Code § 81.11(1)(e) (2019); Ky. Rev. Stat. Ann. § 422.285(5)
(West 2013); La. Stat. Ann. § 926.1.C(1) (2014); Md. Code Ann. Crim. Proc. § 8-
201(d)(1)(i) (West 2018); Miss. Code Ann. §§ 99-39-5(1)(f), 99-39-9, 99-39-11
(West) (petitioner entitled to testing on allegation DNA testing would provide
reasonable probability of different outcome, unless pleading facially inadequate);
Mo. Ann. Stat. § 547.035.2(5) (West); Mont. Code Ann. § 46-21-11(5)(d) (West
2015); Nev. Rev. Stat. Ann. § 176.09183.1(c) (West 2013); N.J. Stat. Ann. §
2A:84A-32a.d(5) (West 2016); N.M. Stat. Ann § 31-1A-2.C(5) (West 2010); N.Y.
Crim. Proc. Law § 440.30.1-a.(a)(1) (McKinney 2020); N.C. Gen. Stat. Ann. § 15A-
269(b)(2) (West); Okla. Stat. tit. 22, § 1373.4.A.1 (2013); Or. Rev. Stat. Ann. §
138.692(6)(b) (West); 42 Pa. C.S.A. § 9543.1(d)(2) (West); 10 R.I. Gen. Laws Ann
§ 10-9.1-12(a) (West); S.C. Code Ann. § 17-28-90(B)(5); Tenn. Code Ann. § 40-30-
304(1) (West); Utah Code Ann. § 78B-9-301(2)(f) (West); Vt. Stat. Ann. tit. 13 §
5566(a)(1) (West); W. Va. Code Ann. § 15-2B-14(c)(1)(B) (West); Wis. Stat. Ann.
§ 947.07(7)(a)(2) (West 2011). Eight states require testing when the prisoner makes
a showing of relevance or material relevance, i.e., a standard that is at least as
movant-friendly as the reasonable probability standard: Del. Code Ann. tit. 11, §
4504(a)(5) (West) (“materially relevant”); Kan. Stat. Ann. § 21-2512(c) (West 2013)
(“relevant”); Me. Rev. Stat. Ann. tit. 15, § 2138.4-A.E (2013) (“material”); Mass.
Gen. Laws ch. 278A, § 7(b)(4) (West 2012) (“material”); Mich. Comp. Laws Ann.
§ 770.16(4)(a) (West 2015) (“material”); Minn. Stat. Ann. § 590.01(c)(2) (West
2005) (“materially relevant”); Neb. Rev. Stat. Ann. § 29-4120(5)(c) (West 2015)
(“relevant”); N.D. Cent. Code Ann. § 29-32.1-15.3.b (West) (“materially relevant”).
Illinois requires testing on a showing of either material relevance to an assertion of
innocence or reasonable probability of acquittal. 725 Ill. Comp. Stat. Ann. 5/116-
3(c)(1) (West 2014). In addition to Texas, six states require a showing of probable
acquittal or some higher standard in order to obtain testing: Colo. Rev. Stat. Ann. §
                                          22
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD     Page 24 of 40




64.03(a)(2) effectively precludes testing to establish innocence, and further

precludes testing to establish innocence of the death penalty.

      67.    The CCA previously acknowledged that a DNA match between the

fingernail scrapings taken from Ms. Harrison during the autopsy and co-defendant

Pedro Gracia would be potentially exculpatory. Gutierrez-4, 337 S.W.3d at 901.

Nevertheless, the court construed Chapter 64 as precluding potentially exculpatory

testing where an exculpatory result does not appear “plausible” to a reviewing court.

Id. But a court’s speculation as to the likelihood that testing will produce a particular

result cannot reasonably be a basis for concluding that testing that does produce that

result would not change the outcome at trial.

      68.    In its recent decision, the CCA relied totally on the statements from Mr.

Gutierrez’s co-defendants and Mr. Gutierrez’s own third, allegedly coerced,

statement to find that Mr. Gutierrez could not show that he would be acquitted if

retried following exculpatory DNA testing. The CCA reasoned that, at a minimum,


18-1-413(1)(a) (West) (showing of actual innocence by a preponderance); Idaho
Code Ann. § 19-4902(e)(1) (West 2014) (showing innocence more probable than
not); N.H. Rev. Stat. Ann. § 651-D:2.III (2010) (material evidence that would
exonerate the petitioner); Ohio Rev. Code Ann. § 2953.73(B)(1) (West 2010)
(evidence that would have been outcome determinative at trial); S.D. Codified Laws
§ 23-5B-1(9) (showing that would establish actual innocence); Wash. Rev. Code
Ann. § 10.73.170(3) (West) (show that innocence more probable than not). Finally,
Wyoming provides that a court may order testing on a prima facie showing of actual
innocence. Wyo. Stat. Ann. § 7-12-305. Thus, forty-two states and the federal
government require testing to be performed based on a showing that is more movant-
friendly than the Texas standard.
                                        23
  Case 1:19-cv-00185       Document 45    Filed on 04/22/20 in TXSD    Page 25 of 40




Mr. Gutierrez’s third statement revealed that he had “plann[ed] ‘the whole rip off,’

showing his involvement as a party.” Gutierrez-5, 2020 WL 918669, at *7. The court

thus confirmed a per se rule that if there is any evidence that the defendant

“commit[ted] the crime as either a principal or a party,” they cannot obtain DNA

testing under the statute. Id. (citing Gutierrez-4, 337 S.W.3d at 900; Wilson v. State,

185 S.W.3d 481, 485 (Tex. Crim. App. 2006)).

      69.    Realistically, this makes it virtually impossible for any defendant ever

to obtain DNA testing under the Texas statute. If there were a complete absence of

inculpatory evidence, presumably the defendant would never have been convicted

in the first place. Here, in particular, the statements of Mr. Gutierrez’s co-defendants

implicating him would be excluded from consideration at trial because of their

unreliability. See Bruton v. United States, 391 U.S. 123, 136 (1968) (discussing

unreliability of such evidence). Moreover, Mr. Gutierrez has always contended his

statement was coerced. 8



  8
    The CCA rejected newly proffered evidence of coercion, on the ground that it
had previously rejected Mr. Gutierrez’s claim, without the new evidence,
commenting that the new evidence “does not overcome the prior court holdings.”
See Gutierrez-5, 2020 WL 918669, at *7 n.8. The question, however, should not be
whether the CCA is convinced that the defendant is innocent or that his statement
was coerced, but whether Mr. Gutierrez has shown that he would be acquitted by a
jury that heard the exculpatory DNA evidence, as well as the new evidence casting
doubt on his statement. The CCA’s failure to address that question was arbitrary,
and creates an insurmountable barrier for any defendant seeking DNA testing.

                                          24
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 26 of 40




      70.    Leaving aside the question of coercion, the CCA’s decision renders

important provisions in Article 64.03 a virtual nullity. Article 64.03(b) prohibits

courts “from finding that identity was not an issue in the case solely on the basis of

[a defendant’s] . . . confession, or admission.” Relying so heavily on Mr. Gutierrez’s

third statement to deny DNA testing is inconsistent with at least the spirit of Article

64.03(b). It makes no sense to prohibit reliance on such evidence with respect to the

identity requirement, but use it as virtually the sole basis for denying relief with

respect to the different outcome requirement.

      71.    In any event, the CCA has applied the different outcome requirement

so broadly that it can be used to deny virtually all requests for DNA testing. The

CCA did not dispute that testing may show conclusively that Mr. Gutierrez did not

enter the decedent’s house or take part in her fatal stabbing. Instead, it simply

asserted that such testing—even if it showed that an uncharged man, Avel Cuellar,

did participate in the fatal assault—would not change the outcome of the trial. Even

if it would still technically be possible to convict Mr. Gutierrez under the law of

parties, however, exculpatory test results would so dramatically alter the evidence

that a different outcome would be highly likely. The CCA’s contrary ruling, in the

face of the evidence outlined below, applied Article 64.03 in such a way that it is

virtually impossible for anyone convicted under the law of parties to obtain DNA

testing under the statute.

                                          25
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD   Page 27 of 40




      72.    Avel Cuellar, the decedent’s nephew, lived at Ms. Harrison’s trailer and

was the initial suspect in the crime. A DNA profile tying Mr. Cuellar to the crime

would be especially likely to have changed the outcome of the trial. It is likely that

if he was one of the people in the trailer who attacked Ms. Harrison, he would have

been touched at some point by one of the co-assailants. That person could have left

touch DNA on his clothing. A21-23. Evidence that Rene Garcia’s DNA, or Pedro

Gracia’s DNA, was deposited onto Mr. Cuellar’s clothing would be consistent with

one of them committing the murder with Mr. Cuellar, id., and would likely have

resulted in acquittal of Mr. Gutierrez.

      73.    Blood was found on Mr. Cuellar’s shirt, and may also be present on his

jeans. DNA testing could be conducted on the blood stains. Decl. of Prof. Timothy

Palmbach, A26; A34. If the blood came from the decedent, and pattern interpretation

shows that the blood was a spatter stain, that would be strong evidence that Mr.

Cuellar committed the murder. See A22-23, 25.

      74.    Given that Ms. Harrison was stabbed, the assailant(s) would have

needed to be very close to her. A21-22, 27. Simply by touching an item, individuals

leave behind skin cells that can yield a DNA profile when tested. Id. As a result of

recent advances in DNA technology, there is a reasonable likelihood of obtaining a

DNA profile from touch DNA left on the victim’s nightgown by the perpetrator(s).




                                          26
  Case 1:19-cv-00185      Document 45       Filed on 04/22/20 in TXSD   Page 28 of 40




A20, 38. An exculpatory result from such testing almost certainly would have

resulted in a different outcome at trial.

      75.    The Texas Department of Public Safety reported that “apparent blood

was detected in the victim’s fingernail scrapings.” Crime Lab Report, A45. The

presence of blood in these scrapings makes them particularly likely to contain

probative biological evidence. See A21-22, 26. The presence of DNA in the

fingernail scrapings from a person or persons other than Ms. Harrison and Mr.

Gutierrez would be highly exculpatory.

      76.    Samples were collected from blood stains in a bathroom. Any profiles

obtained from the blood could be compared to known samples of the victim, Avel

Cuellar, Rene Garcia, Pedro Gracia, and Ruben Gutierrez. A22, 26. The presence of

blood from any two people other than Ruben Gutierrez and the victim would further

support the conclusion that Mr. Gutierrez was not the perpetrator.

      77.    A hair was collected from the decedent’s hand. The forensic pathologist

testified that the hair could well have come from the assailant. 19 RR 264. Even if

the hair lacks a root, recent advances mean that mitochondrial DNA testing would

likely reveal a genetic profile. A22, 26-27, 37. A DNA result for a person other than

Mr. Gutierrez would likely have resulted in a different outcome. 9



  9
    In its prior ruling, the CCA accepted a representation by the State that the hair
had not been collected as evidence. Gutierrez-4, 337 S.W.3d at 897-98. The CCA
                                        27
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD    Page 29 of 40




      78.    In summary, there is a plethora of biological evidence that, if tested and

exculpatory, would have resulted in a different outcome at trial. Moreover, even if it

is assumed that Mr. Gutierrez could still have been convicted of first degree murder

under Texas’s law of parties, see Gutierrez-4, 337 S.W.3d at 901; Gutierrez-5, 2020

WL 918669, at *7, the evidence would still support a determination that Mr.

Gutierrez was not eligible for the death penalty under Enmund v. Florida, 458 U.S.

782, 797 (1982), and Tison v. Arizona, 481 U.S. 137, 157-58 (1987).

      79.    The CCA has construed the statute as precluding “testing when

exculpatory testing results might affect only the punishment or sentencing that [the

defendant] received.” Gutierrez-4, 337 S.W.3d at 901; see Gutierrez-5, 2020 WL

918669, at *8-9 (quoting and approving Gutierrez-4). This means, however, that a

defendant could never obtain testing in order to establish that he is ineligible for the

death penalty, and thus “‘actually innocent’ of the death penalty to which he has

been sentenced.” Sawyer v. Whitley, 505 U.S. 333, 335 (1992). The execution of a

person who is innocent of the death penalty, however, would be a fundamental

miscarriage of justice. See id. at 339 (actual innocence of crime or death penalty as

a miscarriage of justice); id. at 345 (defining innocence of death penalty as a

“showing that there was no aggravating circumstance or that some other condition


now apparently accepts undersigned counsel’s representation that the hair is
available for testing. See Gutierrez-5, 2020 WL 918669, at *5 n.6.

                                          28
  Case 1:19-cv-00185    Document 45     Filed on 04/22/20 in TXSD    Page 30 of 40




of eligibility had not been met”). On its face and as construed by the CCA, Chapter

64 does not permit DNA testing to establish that a defendant is ineligible for the

death penalty.

       80.   On its face and as construed by the CCA, Chapter 64 further does not

permit DNA testing to establish that one or more of the aggravating circumstances

are invalid, that mitigating circumstances exist, or that the death sentence is

otherwise unjust or unwarranted.10


  10
     A substantial number of state statutes expressly provide for DNA testing where
the results would likely change the defendant’s sentence, in all cases or at least in
capital cases. See Cal. Penal Code § 1405(g)(5) (West) (providing for testing where
results would raise reasonable probability of more favorable result as to conviction
or sentence); Fla. Stat. Ann. § 925.11(f)(3) (West 2006) (reasonable probability of
acquittal or a lesser sentence); Haw. Rev. Stat. Ann. § 844D-123(b) (West)
(reasonable probability of more favorable verdict or sentence); Ind. Code Ann. § 35-
38-7-7 (West) (reasonable probability petitioner would not have received as severe
a sentence); Kan. Stat. Ann. § 21-2512(c) (West 2013) (testing of evidence relevant
to claim petitioner was wrongfully convicted or sentenced); Ky. Rev. Stat. Ann.
§ 422.285(6) (West 2013) (court may order testing if reasonable probability that
verdict or sentence would have been more favorable); Md. Code Ann., Crim. Proc.
§ 8-201(6) (West 2018) (reasonable probability testing will produce evidence
relevant to claim of wrongful conviction or sentencing); Miss. Code Ann. § 99-39-
5(1)(f) (West) (reasonable probability petitioner would have received lesser
sentence); Neb. Rev. Stat. Ann. § 29-4120(5)(c) (West 2015) (evidence relevant to
claim petitioner was wrongfully sentenced); 42 Pa. C.S.A. § 9543.1(d)(2) (West)
(evidence that in a capital case would establish innocence of an aggravating
circumstance or would establish a mitigating circumstance); 10 R.I. Gen. Laws Ann
§ 10-9.1-12(b) (West) (discretionary testing where reasonable probability results
would have reduced sentence); Tenn. Code Ann. § 40-30-305(1) (West)
(discretionary testing if reasonable probability sentence would have been more
favorable); Utah Code Ann. § 78B-9-301(2)(f) (West) (reasonable probability
defendant would have received lesser sentence); Vt. Stat. Ann. tit. 13 § 5566(a)(1)
(West) (same); W. Va. Code Ann. § 15-2B-14(c)(1)(B) (West) (reasonable
                                          29
  Case 1:19-cv-00185     Document 45         Filed on 04/22/20 in TXSD   Page 31 of 40




      81.    By refusing to release the biological evidence for testing, and thereby

preventing Plaintiff from gaining access to exculpatory evidence that could have led

to his acquittal and/or demonstrated that he is not death eligible because he was not

a principal in Ms. Harrison’s murder, or established mitigating circumstances,

Defendants have deprived Plaintiff of his liberty interests in utilizing state

procedures to obtain an acquittal and/or reduction of his sentence, in violation of his

right to due process of law under the Fourteenth Amendment to the Constitution of

the United States.

                     Second Claim for Relief: Access to Courts

      82.    Mr. Gutierrez has a fundamental right to access the courts, rooted in the

First and Fourteenth Amendments, which requires that the states make available the

tools necessary for prisoners to obtain meaningful access to available judicial

remedies. State law must ensure that prisoners like Mr. Gutierrez have meaningful

access to post-conviction remedies in order to vindicate this right. Cf. Bounds v.

Smith, 430 U.S. 817, 828 (1977) (holding that prison authorities are required to

provide inmates meaningful legal assistance or resources to effectuate their

constitutional right of access to courts).




probability verdict or sentence would be more favorable); Wyo. Stat. Ann. § 7-12-
305(d)(ii) (prima facie showing in capital case of innocence of aggravating
circumstance or establishing a mitigating circumstance).

                                             30
  Case 1:19-cv-00185    Document 45     Filed on 04/22/20 in TXSD    Page 32 of 40




      83.    As alleged above, Mr. Gutierrez has available remedies under Texas

law for access to post-conviction DNA testing, to judicial relief from his conviction

and death sentence, and to executive clemency, based on the exculpatory results of

such testing. And, as alleged above, Texas’s restrictive procedure for obtaining

access to DNA testing under Article 64, and the CCA’s interpretation thereof, is not

adequate, meaningful, or effective.

      84.    Mr. Gutierrez incurred actual injury when the CCA denied his request

for DNA testing that could potentially produce exculpatory evidence, and thus

provide him with relief from his conviction and death sentence.

      85.    As stated above, the CCA’s unreasonable interpretation of Article 64

has prevented Mr. Gutierrez from gaining access to exculpatory evidence that could

demonstrate that he is not guilty of capital murder, and that he is innocent of the

death penalty. These failures have deprived Mr. Gutierrez of his fundamental right

to access the courts under the First and Fourteenth Amendments.

            Third Claim for Relief: Cruel and Unusual Punishment

      86.    Mr. Gutierrez re-alleges and incorporates herein by reference all the

allegations contained in the preceding paragraphs of this Amended Complaint.

      87.    The Eighth Amendment’s prohibition on cruel and unusual punishment

prevents the execution of a prisoner, like Mr. Gutierrez, who has viable claims of

innocence of the death penalty, or seeks to establish mitigation related to the

                                         31
  Case 1:19-cv-00185      Document 45    Filed on 04/22/20 in TXSD    Page 33 of 40




circumstances of the offense, without first affording the opportunity to prove

innocence or mitigation. On its face and as construed by the CCA, Chapter 64 bars

DNA testing where the evidence could change the outcome at capital sentencing,

even if it did not also change the outcome at trial. Because Texas law does not allow

for DNA testing under such circumstances, Article 64 violates the Eighth

Amendment prohibition on cruel and unusual punishment.

                  Fourth Claim for Relief: Establishment Clause

      88.    The First Amendment of the United States Constitution commands that

“Congress shall make no law respecting an establishment of religion.” U.S. Const.

amend. I. This command is similarly binding on the states. See Cantwell v.

Connecticut, 310 U.S. 296, 303 (1940). It is well-settled that the Establishment

Clause not only prohibits governmental entities from passing laws that prefer one or

more religions over others, but also those that demonstrate a hostility toward

religion. See Larson v. Valente, 456 U.S. 228, 246 (1982); Zorach v. Clauson, 343

U.S. 306, 313-15 (1952); Everson v. Bd. of Ed. of Ewing Twp., 330 U.S. 1, 15 (1947)

(“Neither a state nor the Federal Government . . . can force nor influence a person to

go to or to remain away from church against his will or force him to profess a belief

or disbelief in any religion.”).

      89.    By precluding all chaplains and spiritual advisers from being present in

the execution chamber, Defendants’ amended policy violates the Establishment

                                         32
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 34 of 40




Clause, because it is not neutral between religion and non-religion and inhibits the

practice of religious beliefs. See Comm. for Public Ed. & Religious Liberty v.

Nyquist, 413 U.S. 756, 788 (1973) (noting that, to maintain an attitude of neutrality

toward religion, government cannot “advance[]” or “inhibit[]” religion).

      90.    A law or policy that is not neutral between religion and non-religion,

like TDCJ’s amended policy, is inherently suspect. See Larson, 456 U.S. at 246.

Such a law or policy may only be upheld if it passes strict scrutiny—in other words,

if it is narrowly tailored to a compelling interest. Id. at 246-47. It is unclear what

interest TDCJ believes this discriminatory policy serves.

      91.    Put in context of the Supreme Court’s order in Murphy v. Collier, 139

S. Ct. 1475 (2019), Defendants’ decision to prohibit all religious and spiritual

advisers from entering the execution chamber demonstrates a hostility toward

religion generally, particularly in light of the longstanding tradition of permitting

clergy to be present with condemned prisoners at executions. Under the previous

policy, Defendants followed a procedure to approve chaplains who were not a

security threat to be present in the execution chamber. After the Supreme Court

halted Patrick Murphy’s execution on March 28, 2019, finding that the previous

policy discriminated by denomination, Defendants chose not to apply that same

process to approve spiritual advisers of other faiths, but instead to bar all religious

and spiritual advisers from the execution chamber. This action was hostile to religion

                                          33
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD    Page 35 of 40




generally. By denying all religious inmates access to a spiritual adviser at the time

they are dying and when many believe they will be entering some form of an

afterlife, TDCJ’s policy favors non-religious inmates.

                 Fifth Claim for Relief: Free Exercise of Religion

      92.    The First Amendment also commands that “Congress shall make no

law . . . prohibiting the free exercise of” religion. U.S. Const. amend. I. Like the

Establishment Clause, the Free Exercise Clause’s command is binding on the states.

See Cantwell, 310 U.S. at 303.

      93.    TDCJ’s policy will prohibit Mr. Gutierrez’s free exercise of his

Christian faith in the crucial moments leading to his passage to the afterlife. The

level of scrutiny to be applied when reviewing policies that hinder an individual’s

ability to freely exercise his religion depends on whether the law is neutral and

generally applicable. As Justice Kennedy explained in Church of the Lukumi Babalu

Aye, Inc. v. Hialeah, 508 U.S. 520 (1993), “a law that is neutral and of general

applicability need not be justified by a compelling government interest even if the

law has the incidental effect of burdening a particular religious practice.” Id. at 531.

A law that does not satisfy both of these requirements “must be justified by a

compelling governmental interest and must be narrowly tailored to advance that

interest.” Id.; see also Masterpiece Cakeshop v. Colo. Civil Rights Comm’n, 138 S.

Ct. 1719, 1734 (2018) (Gorsuch, J., concurring).

                                          34
  Case 1:19-cv-00185     Document 45      Filed on 04/22/20 in TXSD    Page 36 of 40




      94.    TDCJ’s policy is not neutral because it evinces a hostility toward

religion and thereby favors non-religious inmates over religious inmates.

Accordingly, the policy is permissible only if it can survive strict scrutiny. The

policy cannot survive strict scrutiny, at least not in cases like Mr. Gutierrez’s, where

the TDCJ already has chaplains who have been approved to enter execution

chambers, have been present in the chamber for past executions, and are willing to

do so for Mr. Gutierrez’s execution.

                         Sixth Claim for Relief: RLUIPA

      95.    If this Court finds that TDCJ’s policy does not interfere with Mr.

Gutierrez’s rights pursuant to the Free Exercise Clause, it should nonetheless find

that the policy violates RLUIPA.

      96.    “In RLUIPA, in an obvious effort to effect a complete separation from

the First Amendment case law, Congress deleted reference to the First Amendment

and defined the ‘exercise of religion’ to include ‘any exercise of religion, whether

or not compelled by, or central to, a system of religious belief.’” Burwell v. Hobby

Lobby Stores, 573 U.S. 682, 696 (2014) (quoting 42 U.S.C. § 2000cc-5(7)(A)).

Accordingly, if the Court concludes that TDCJ’s policy does not violate Mr.

Gutierrez’s rights pursuant to the Free Exercise Clause because the presence of a

Christian chaplain at his death is not compelled by his religion, the Court should

nevertheless find that TDCJ’s policy violates RLUIPA. Prohibiting Mr. Gutierrez

                                          35
  Case 1:19-cv-00185      Document 45     Filed on 04/22/20 in TXSD    Page 37 of 40




from being guided at the time of death by a Christian chaplain is an explicit and

substantial burden on religious exercise. See, e.g., Holt v. Hobbs, 574 U.S. 352, 361

(2015) (where prisoner shows exercise of religion “grounded in a sincerely held

religious belief,” enforced prohibition “substantially burdens his religious

exercise”).

      Request for Injunctive Relief: Release of Evidence for Testing

      97.     For the reasons stated above, the Constitution requires declaratory relief

that the denial of DNA testing to Mr. Gutierrez violates the Constitution and that

Mr. Gutierrez be afforded the opportunity to conduct DNA testing on the evidence

identified in this Complaint. Further, Mr. Gutierrez requests injunctive relief

compelling those Defendants who are custodians of the evidence identified in this

Complaint to release the evidence designated below for DNA testing. Accordingly,

Mr. Gutierrez asks this Court to grant prospective injunctive relief compelling the

Defendants to release the evidence identified in this Complaint so that the requested

DNA testing can be accomplished.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that the Court provide relief as follows:

      1.      A declaratory judgment that Article 64 of the Texas Code of Criminal

Procedure, as applied by the CCA, is unconstitutional because:

      a.      It imposes a fundamentally unfair limitation, in violation of due process
              and the First Amendment right of access to the courts, upon Plaintiff’s
                                          36
  Case 1:19-cv-00185    Document 45     Filed on 04/22/20 in TXSD    Page 38 of 40




            access to statutory remedies available under Texas law, and deprives
            Plaintiff of adequate, effective and meaningful access to such remedies.
            Those remedies include: (1) the statutory right to access post-
            conviction DNA testing pursuant to Article 64; (2) the statutory right to
            habeas relief for constitutional violations pursuant to Articles 11.071
            and 11.073 of the Texas Code of Criminal Procedure based on
            exculpatory DNA evidence; and (3) executive clemency based on
            exculpatory DNA results.

      b.    It denies Plaintiff the protection of the Eighth Amendment of the
            Constitution, which requires that death sentences be reliable, and
            therefore guarantees persons facing the death penalty access to test
            evidence where realistically possible exculpatory results can prove
            innocence of the crime, innocence of the death penalty, or relevant
            mitigating factors concerning the circumstances of the offense.

      2.    A preliminary and permanent injunction requiring Defendants to

produce and release for DNA testing the evidence set forth below, pursuant to an

appropriate protocol regarding chain of custody and preservation and return of such

evidence after testing has been completed:

                blood sample taken from the victim Escolastica Harrison retained
                 by the Texas DPS McAllen Laboratory pending pick up by the
                 District Attorney;

                nightgown belonging to Ms. Harrison that may have touch DNA
                 from her assailant(s);

                shirt belonging to the victim’s nephew and housemate, Avel
                 Cuellar, containing apparent blood stains retained by the Texas
                 DPS McAllen Laboratory pending pick up by the District
                 Attorney;

                nail scrapings taken from victim during an autopsy and submitted
                 to Det. Hernandez as part of rape examination;



                                        37
  Case 1:19-cv-00185     Document 45     Filed on 04/22/20 in TXSD    Page 39 of 40




                 blood samples collected from a bathroom, from a raincoat
                  located in or just outside Avel Cuellar’s bedroom, and from the
                  sofa in the front room of the victim’s house; and

                 a single loose hair found around the third digit of the victim’s left
                  hand recovered during an autopsy but never submitted to any lab
                  for analysis.

      3.     A declaratory judgment that TDCJ’s policy violates Mr. Gutierrez’s

rights under the First Amendment’s Establishment and Free Exercise Clauses.

      4.     A declaratory judgment that TDCJ’s policy violates RLIUPA.

      5.     A preliminary and permanent injunction prohibiting Defendants from

executing Mr. Gutierrez until they can do so in a way that does not violate his rights.

                                        Respectfully submitted,


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                                          38
  Case 1:19-cv-00185     Document 45    Filed on 04/22/20 in TXSD   Page 40 of 40




                          CERTIFICATE OF SERVICE

      I hereby certify that on this date, I served the foregoing pleading and the

attachments thereto on the following person by ECF filing and first class mail:

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                               Edward Larry Marshall
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                                             /s/ Peter Walker
                                             Peter Walker


Dated:      April 22, 2020
